









Dismissed and Memorandum Opinion filed January 26, 2006









Dismissed and Memorandum Opinion filed January 26,
2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-01242-CR

____________

&nbsp;

ARON FOSTER,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
228th District Court

Harris County, Texas

Trial Court Cause No. 1025239

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated sexual assault
of a child.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, the trial court sentenced appellant
on November 21, 2005, to confinement for ten years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 26, 2006.

Panel consists of Justices Fowler,
Edelman, and Guzman.

Do Not Publish.





